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    United States District Court
                       FOR THE
            NORTHERN DISTRICT OF CALIFORNIA

                 VENUE: SAN FRANCISCO                            CR20-251JD



                      UNITED STATES OF AMERICA,                     FILED
                                    V.
                                                                      Jun 22 2020

                                                                 SUSANY. SOONG
                                                            CLERK, U.S. DISTRICT COURT
                                                         NORTHERN DISTRICT OF CALIFORNIA
                              XIN WANG                            SAN FRANCISCO




                           DEFENDANT(S).


                          INDICTMENT

          18 U.S.C. § 1546(a) – Fraud and Misuse of Visas;
             18 U.S.C. § 982(a)(6) – Forfeiture Allegation




       A true bill.
                 /s/ Foreperson of the Grand Jury
                                                      Foreman

                                 18th
       Filed in open court this __________ day of
             June, 2020
       _________________________________.

       ____________________________________________
                                               Clerk
       ____________________________________________
                                                  No Process
                                         Bail, $ _____________
                 Case 3:20-cr-00251-JD Document 4 Filed 06/22/20 Page 2 of 4
                                                                               FILED
                                                                                Jun 22 2020
 1 DAVID L. ANDERSON (CABN 149604)
   United States Attorney                                                  SUSANY. SOONG
 2                                                                    CLERK, U.S. DISTRICT COURT
 3                                                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                            SAN FRANCISCO
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 8                                   UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10                                       SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                       )   CASE NO.     CR20-251 JD
                                                     )
12           Plaintiff,                              )   VIOLATION:
                                                     )   18 U.S.C. § 1546(a) – Fraud and Misuse of Visas;
13      v.                                           )   18 U.S.C. § 982(a)(6) – Forfeiture Allegation
                                                     )
14   XIN WANG,                                       )   SAN FRANCISCO VENUE
                                                     )
15           Defendant.                              )
                                                     )
16

17                                            INDICTMENT
18 The Grand Jury charges:
19 COUNT ONE:              (18 U.S.C. § 1546(a) – Fraud and Misuse of Visas)
20           From on or about December 17, 2018, to on or about June 7, 2020, in the Northern District of
21 California and elsewhere, the defendant,

22                                                XIN WANG,
23 knowingly uttered, used, attempted to use, possessed, obtained, accepted, and received a non-immigrant

24 visa knowing the document to have been procured by means of any false claim and statement, otherwise

25 procured by fraud, and unlawfully obtained, in violation of Title 18, United States Code, Section

26 1546(a).

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     INDICTMENT
                Case 3:20-cr-00251-JD Document 4 Filed 06/22/20 Page 3 of 4




 1 FORFEITURE ALLEGATION:                  (18 U.S.C. § 982(a)(6))

 2          The allegations contained in the sole count of this Indictment are re-alleged and incorporated by

 3 reference for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Section

 4 982(a)(6).

 5          Upon conviction of the offense set forth in this Indictment, the defendant,

 6                                                  XIN WANG,

 7 shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(6):

 8                  a. any conveyance, including any vessel, vehicle, or aircraft, used in the commission of

 9                       the offense;

10                  b. any property, real or personal, that constitutes or is derived from or is traceable to the

11                       proceeds obtained directly or indirectly from the commission of the offense; or

12                  c. that was used to facilitate, or was intended to be used to facilitate, the commission of

13                       the offense.

14          If any of the property described above, as a result of any act or omission of the defendant:

15                  a.      cannot be located upon exercise of due diligence;

16                  b.      has been transferred or sold to, or deposited with, a third party;

17                  c.      has been placed beyond the jurisdiction of the court;

18                  d.      has been substantially diminished in value; or

19                  e.      has been commingled with other property which cannot be divided without

20                          difficulty,

21 the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

22 United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section 982(b)(1).

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     INDICTMENT                                       2
              Case 3:20-cr-00251-JD Document 4 Filed 06/22/20 Page 4 of 4




 1        All pursuant to Title 18, United States Code, Section 982(a)(6) and Federal Rule of Criminal

 2 Procedure 32.2.

 3

 4 DATED: June 18, 2020                                       A TRUE BILL.

 5
                                                                   /s/
                                                              _________________________
 6
                                                              FOREPERSON
 7

 8 DAVID L. ANDERSON
   United States Attorney
 9

     /s/ Kimberly Hopkins
10 _____________________________

11 BENJAMIN KINGSLEY
   KIMBERLY HOPKINS
12 Assistant United States Attorneys

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     INDICTMENT                                   3
